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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF FLORIDA
                        TALLAHASSEE DIVISION

S. B.,

                Plaintiff,

v.                                                 Case No. 4:16cv613-MW/CAS

FLORIDA AGRICULTURAL AND
MECHANICAL UNIVERSITY BOARD
OF TRUSTEES,

          Defendant.
_________________________/

     ORDER DENYING MOTION TO DISMISS AND GRANTING CROSS-
              MOTION TO PROCEED ANONYMOUSLY

         This is a Title IX case. Plaintiff alleges that Defendant failed to fulfill its legal

duties when Plaintiff reported three rapes that occurred while she was a student at

the university administered by Defendant. In her complaint, Plaintiff uses her initials

instead of her full name to protect her identity as a rape victim. After nearly ten

months of cooperating with Plaintiff in this regard, Defendant has moved to dismiss

pursuant to Federal Rule of Civil Procedure 10. This Court has considered, without

hearing, Defendant’s Motion to Dismiss, ECF No. 52, and Plaintiff’s Cross-Motion

to Proceed Anonymously, ECF No. 53. For the reasons set out below, the motion to

dismiss is DENIED and the cross-motion to proceed anonymously is GRANTED.

                                               I


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      Plaintiff is a former student of the public university administered by

Defendant (“the University”). ECF No. 29 at 2-3. While enrolled there, Plaintiff

claims she was raped on three separate occasions, each time by a different student

of the University. Id. at 5, 7, 12. In the weeks that followed each alleged rape,

Plaintiff reported to or sought support from the University’s law enforcement

officials, the University’s Office of Judicial Affairs, the University’s Title IX

Coordinator, and other University employees and officials. Id. at 3, 5, 7-8, 12.

      Plaintiff alleges that Defendant violated Title IX by failing to reasonably

respond to each reported attack and by being deliberately indifferent to the hostile

educational environment associated with each attack. Id. at 15-16, 20-21, 26-27, 31,

33-36, 38. Plaintiff also claims that Defendant breached its duty through negligent

security, hiring, retention, and supervision. Id. at 45, 48.

      On October 4, 2016, Plaintiff initially filed a Complaint with her initials

instead of her full name as the party name. ECF No. 1. In the months that followed,

both parties proceeded to use Plaintiff’s initials on motions, briefs, and exhibits. ECF

No. 52 at 2; ECF No. 53 at 1-3. Plaintiff subsequently filed an Amended Complaint

on May 31, 2017, again using her initials. ECF No. 29 at 1-2. But on July 31, 2017,

almost ten months after Plaintiff filed her lawsuit, Defendant moved to dismiss the

Amended Compliant pursuant to Federal Rule of Civil Procedure 10. ECF No. 52.

In response, Plaintiff filed a cross-motion to proceed anonymously. ECF No. 53.


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                                          II

      Federal Rule of Civil Procedure 10 states that “[t]he title of the complaint

must name all the parties.” FED. R. CIV. P. 10(a). Though “[t]his creates a strong

presumption in favor of parties’ proceeding in their own names,” “the rule is not

absolute.” Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011). A party may

proceed anonymously if that party “has a substantial privacy right which outweighs

‘the customary and constitutionally-embedded presumption of openness in judicial

proceedings.’” Doe v. Frank, 951 F.2d 320, 323 (11th Cir. 1992) (quoting Doe v.

Stegall, 653 F.2d 180, 186 (5th Cir. Unit A Aug. 1981)). And a district court’s

decision on a motion to proceed anonymously is reviewed for abuse of discretion.

Plaintiff B, 631 F.3d at 1315 (citing Frank, 951 F.2d at 323).

      In evaluating Plaintiff’s asserted substantial privacy right in this case, this

Court “should carefully review all the circumstances of [the] given case and then

decide whether the customary practice of disclosing the plaintiff’s identity should

yield to the plaintiff’s privacy concerns.” Frank, 951 F.2d at 323 (citing Southern

Methodist University Ass’n of Women Law Students v. Wynne & Jaffe, 599 F.2d 707,

713 (5th Cir. 1979) [hereinafter, SMU]). “The first step in analyzing a plaintiff’s

claim of a substantial privacy right is to look at the three factors analyzed in SMU.”

Plaintiff B, 631 F.3d at 1316 (citing Stegall, 653 F.2d at 185). Here, the first two

factors of the three-part SMU test are relevant; namely, Plaintiff is challenging


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governmental activity, since the University is a public educational institution, and

Plaintiff is required to disclose information of the utmost intimacy. Plaintiff is

alleging three separate incidents of rape. Though not every plaintiff alleging sexual

assault must be permitted to proceed anonymously, “[t]he issues involved in this

case could not be of a more sensitive and highly personal nature.” Plaintiff B, 631

F.3d at 1317. The third factor of the SMU test, whether the plaintiff will be

compelled to admit intention to engage in illegal conduct and thus risk criminal

prosecution, is not met nor relevant considering the underlying facts.

      Another factor this Court considers is “whether the [the plaintiff’s] anonymity

pose[s] a unique threat of fundamental unfairness to the defendant.” Id. at 1316

(citing SMU, 599 F.2d at 713). Here, Defendant has known the Plaintiff’s identity

throughout the duration of this litigation. ECF No. 53 at 11. Moreover, Defendant

“is not accused of culpability for committing a sex crime itself.” Id. at 14. And,

perhaps most importantly, this Court finds there is absolutely no legitimate public

interest in outing a rape victim in a Title IX case.

                                          III

      Defendant need not continue complying with Plaintiff’s requests for

anonymity “[a]s a matter of courtesy,” but rather as a matter of law. ECF No. 52 at

2. Accordingly, IT IS ORDERED:

      1. Defendant’s motion to dismiss, ECF No. 52, is DENIED.


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2. Plaintiff’s cross-motion to proceed anonymously, ECF No. 53, is

   GRANTED.

3. The Clerk shall seal: Exhibits “E,” “F,” and “G” of ECF No. 31;

   Exhibits “2” and “3” of ECF No. 33; Exhibit “C” of ECF No. 34;

   Exhibits “A,” “B,” and “H” of ECF No. 63; the Motion to Complete

   the Deposition of Plaintiff’s Mother, ECF No. 71, and Exhibits “A”

   and “B” of ECF No. 71; and the Transcript of Telephonic

   Proceedings, ECF No. 74.

SO ORDERED on February 5, 2018.


                               s/Mark E. Walker             ____
                               United States District Judge




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